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                   10   Attorneys for Plaintiffs
                        WHATSAPP INC. and FACEBOOK, INC.
                   11

                   12                                 UNITED STATES DISTRICT COURT

                   13                           NORTHERN DISTRICT OF CALIFORNIA

                   14

                   15 WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                      and FACEBOOK, INC., a Delaware
                   16 corporation,

                   17                                                NOTICE REGARDING PROOF OF SERVICE
                                        Plaintiffs,
                   18
                              v.
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                        NSO GROUP TECHNOLOGIES LIMITED
                   20   and Q CYBER TECHNOLOGIES LIMITED,

                   21                   Defendants.

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COOLEY LLP
ATTORNEYS AT LAW                                                                     NOTICE RE PROOF OF SERVICE
 SAN FRANCISCO
                                                                                     CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 47-15 Filed 04/10/20 Page 2 of 3



                    1                            NOTICE REGARDING PROOF OF SERVICE
                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3   in San Francisco County, State of California, in the office of a member of the bar of this Court, at

                    4   whose direction this document was filed. I am over the age of eighteen years, and not a party to

                    5   the within action. My business address is Cooley LLP, 101 California Street, 5th Floor, San

                    6   Francisco, California 94111-5800. I have been instructed not to serve the following documents,

                    7   which were filed under seal pursuant to Local Rule 79-5, until a protective order is issued in this

                    8   case:

                    9           1. [SEALED] WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

                   10                Representation in a Sealed Matter;

                   11           2. [SEALED] Declaration of Jacob Sommer in Support of WhatsApp’s Motion to

                   12                Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   13           3. [SEALED] Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to

                   14                Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   15           4. [SEALED] Exhibit A to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   16                Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   17                Matter;

                   18           5. [SEALED] Exhibit B to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   19                Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   20                Matter;

                   21           6. [SEALED] Declaration of Nitin Gupta in Support of WhatsApp’s Motion to Disqualify

                   22                Defense Counsel Based on Prior Representation in a Sealed Matter;

                   23           7. [SEALED] Declaration of Daniel J. Grooms in Support of WhatsApp’s Motion to Seal

                   24                Documents Related to WhatsApp’s Motion to Disqualify Defense Counsel Based on

                   25                Prior Representation in a Sealed Matter;

                   26           8.   [SEALED] WhatsApp’s Request for Judicial Notice; and

                   27           9. [SEALED] Proposed Order Granting WhatsApp’s Request for Judicial Notice.

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ATTORNEYS AT LAW                                                                                NOTICE RE PROOF OF SERVICE
 SAN FRANCISCO                                                            -2-                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 47-15 Filed 04/10/20 Page 3 of 3



                    1           I have been instructed to serve the aforementioned documents on the following counsel of
                    2   record once a protective order issues in this case:
                    3      Joseph N. Akrotirianakis
                    4      Aaron S. Craig
                           KING & SPALDING LLP
                    5      633 West Fifth Street, Suite 1700
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                    9      Attorneys for Defendants
                           NSO Group Technologies Limited and Q
                   10      Cyber Technologies Limited
                   11
                                Executed on April 10, 2020, at San Francisco, California.
                   12

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                                                                                        Adriana Vera
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ATTORNEYS AT LAW                                                                              NOTICE RE PROOF OF SERVICE
 SAN FRANCISCO                                                          -3-                   CASE NO. 4:19-CV-07123-PJH
